  Case 17-60377            Doc 56       Filed 12/17/18 Entered 12/17/18 15:53:25                          Desc Main
                                          Document     Page 1 of 1


                                    UNITED STATES BANKRUPTCY COURT
                                         DISTRICT OF MINNESOTA


In RE:

DONALD TIETZ,                                                             Case No.: 17-60377
 aka Don Tietz,                                                           Chapter 7
 asf D&C Properties, LLP,
 asf Don Tietz Construction,
COLEEN TIETZ,
 asf D&C Properties, LLP
                            Debtors.

                                                        ORDER

       David G. Velde, the Trustee in this matter, filed a Notice of Sale, Abandonment, Lease or
Settlement on November 15, 2018. No objections were filed. Based upon all records herein,

         IT IS ORDERED:

         1.       The Trustee’s Notice of Sale, Abandonment, Lease or Settlement is approved.

         2.       The Bankruptcy Estate’s interest in the following real property in Maricopa County,
                  Arizona, and 1994 Cavco Mobile Home located on the property, is abandoned:

                            LOT 798, OF GREENFIELD VILLAGE R.V. RESORT PHASE II, ACCORDING TO
                            THE PLAT OF RECORD IN THE OFFICE OF THE COUNTY RECORDER OF
                            MARICOPA COUNTY, ARIZONA, RECORDED IN BOOK 278 OF MAPS, PAGE 2
                            AND CERTIFICATE OF CORRECTION RECORDED IN DOCUMENT NO. 85-
                            603865.


Dated: December 17, 2018

                                                                    /e/ Michael E. Ridgway
                                                                    ________________________________
                                                                    Michael E. Ridgway
                                                                    United States Bankruptcy Court Judge




                                                                               NOTICE OF ELECTRONIC ENTRY AND
                                                                               FILING ORDER OR JUDGMENT
                                                                               Filed and Docket Entry made on 12/17/2018
T:\BMSW\QUIKDOCS\17-60377\17-60377 Order re abandonment no 55.wpd              Lori Vosejpka, Clerk, by AMM
